     Case 2:03-cr-20051-JWL       Document 464       Filed 01/02/07     Page 1 of 3




                      IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF KANSAS


United States of America,

                      Plaintiff/Respondent,

v.                                                        Case No. 03-20051-JWL

Pauline Macias,

                      Defendant/Petitioner.


                                MEMORANDUM & ORDER

        On August 21, 2003, Ms. Macias was charged in two counts of a nine-count Superseding

Indictment with conspiracy to distribute and possess with intent to distribute 500 grams or more

of methamphetamine (Count 1) and maintaining a residence for the purpose of storing and

distributing methamphetamine (Count 7). On May 4, 2004, Ms. Macias pled guilty to Count 1

of the Superseding Indictment. In the plea agreement executed by Ms. Macias, she waived her

right to appeal the sentence imposed or challenge it through collateral attack. On July 12, 2005,

the court sentenced Ms. Macias to a 97-month term of imprisonment. Judgment was entered the

following day.

        On July 19, 2006, Ms. Macias filed a motion to vacate, set aside or correct her sentence

pursuant to 28 U.S.C. § 2255. In her motion, Ms. Macias asserts, among other things, that she

was “denied the right of appeal.” In response to Ms. Macias’s motion, the government filed a

request to enforce Ms. Macias’s plea agreement and waiver of rights. In response to that request,

Ms. Macias asserts, among other things, that she received ineffective assistance of counsel in that
   Case 2:03-cr-20051-JWL        Document 464       Filed 01/02/07     Page 2 of 3




her counsel failed to file a notice of appeal despite Ms. Macias’s specific request that he do so.

In light of the Tenth Circuit’s decision in United States v. Garrett, 402 F.3d 1262 (10th Cir.

2005) and Ms. Macias’s assertion that she asked her attorney to file a notice of appeal, the court

directed the United States to show good cause in writing why its motion to enforce the plea

agreement should not be denied and/or why an evidentiary hearing should not be scheduled.

       In response to the order to show cause, the government agrees that the court should hold

an evidentiary hearing on the issue of whether Ms. Macias asked her attorney to file a notice of

appeal. The government, however, urges the court on the record before it to summarily deny the

remaining claims asserted by Ms. Macias in her § 2255 motion as those claims, according to the

government, clearly fall within the scope of the waiver contained in Ms. Macias’s plea

agreement. The court declines to do so and believes that the appropriate procedure at this

juncture is to retain under advisement (pending the evidentiary hearing) all claims asserted by

Ms. Macias in her § 2255 motion as well as the United States’ motion to enforce the plea

agreement and waiver of rights. For if, after the hearing, the court determines that Ms. Macias

did in fact request that her counsel file a notice of appeal and that she is entitled to a delayed

direct appeal of her criminal sentence, then the Tenth Circuit (if it reaches the merits of Ms.

Macias’s appeal) should have the opportunity to resolve in the first instance any claims raised

by Ms. Macias in her § 2255 motion (a motion that raises numerous claims in addition to

ineffective assistance claims) that she may decide to raise on appeal. See United States v. Scott,

124 F.3d 1328, 1330 (10th Cir. 1997) (“[T]he orderly administration of criminal justice

precludes a district court from considering a § 2255 motion while review of the direct appeal is

                                                2
   Case 2:03-cr-20051-JWL         Document 464      Filed 01/02/07    Page 3 of 3




still pending.”); see also United States v. Prichard, 875 F.2d 789, 791 (10th Cir. 1989) (“Absent

an intervening change in the law of a circuit, issues disposed of on direct appeal generally will

not be considered on a collateral attack by a motion pursuant to § 2255.”).



       IT IS THEREFORE ORDERED BY THE COURT THAT Ms. Macias’s motion to

vacate, set aside or correct her sentence pursuant to 28 U.S.C. § 2255 (doc. 450) is retained

under advisement and the United States’ motion to enforce Ms. Macias’s plea agreement and

waiver of rights (doc. 452) is retained under advisement pending an evidentiary hearing that will

be scheduled by separate order.



       IT IS SO ORDERED this 2nd day of January, 2007.



                                                   s/ John W. Lungstrum
                                                   John W. Lungstrum
                                                   United States District Judge




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